                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                          DOCKET NO. 3:09CR52-8-FDW

UNITED STATES OF AMERICA             )
                                     )
              v.                     )
                                     )                        ORDER
ANTHONY LEE MONROE,                  )
                                     )
                  Defendant.         )
_____________________________________)

       THIS MATTER is before the Court on “Defendant Anthony Lee Monroe’s Motion for

Discovery” (document #89) filed July 26, 2009. On June 30, 2009, United States Magistrate Judge

David C. Keesler entered a Standard Criminal Discovery Order (document #74) in this case which

mandates how discovery will be conducted including the issues raised in the subject motion.

Therefore, the subject motion is DENIED.

       IT IS THEREFORE ORDERED:

       1.   “Defendant Anthony Lee Monroe’s Motion for Discovery” filed July 26, 2009, is

DENIED.

       2. The Clerk is directed to send copies of this Order to counsel for the parties, and to The

Honorable Frank D. Whitney.

                                                Signed: July 27, 2009




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